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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 LUIS GERARDO MOLINA                          CASE NO. 6:20-CV-01185 SEC P
 NAVARRO #A097-739-833

 VERSUS                                       JUDGE MICHAEL J. JUNEAU

 WARDEN, PINE PRAIRIE ICE                     MAGISTRATE JUDGE WHITEHURST
 PROCESSING CENTER

                       REPORT AND RECOMMENDATION
       Before the Court is a petition for writ of habeas corpus (28 U.S.C. § 2241)

 filed by pro se Petitioner Luis Gerardo Molina Navarro.             Petitioner was an

 immigration detainee in the custody of the Department of Homeland Security / U.S.

 Immigration and Customs Enforcement (“DHS/ICE”). At the time of filing on

 September 11, 2020, he was detained at the Pine Prairie Correctional Center, in Pine

 Prairie, Louisiana. Petitioner challenged his continued detention.

       This Court has been notified by the United States Attorney’s Office that the

 Petitioner has been removed to Mexico. The release from custody renders Navarro’s

 Petition for Writ of Habeas Corpus moot, as he has achieved the relief sought in his

 habeas petition. See Goldin v. Bartholow, 166 F.3d 710, 717 (5th Cir. 1999) (“[A]

 moot case presents no Article III case or controversy, and a court has no

 constitutional jurisdiction to resolve the issues it presents.”).

       For the foregoing reasons,
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       IT IS RECOMMENDED that Navarro’s habeas petition be DISMISSED

 AS MOOT.

       Under the provisions of 28 U.S.C. §636(b)(1)(c) and Fed.R.Civ.P. 72(b), the

 parties have fourteen (14) calendar days from service of this Report and

 Recommendation to file specific, written objections with the clerk of court. No other

 briefs or responses (such as supplemental objections, reply briefs etc.) may be filed.

 Providing a courtesy copy of the objection to the magistrate judge is neither required

 nor encouraged. Timely objections will be considered by the district judge before he

 makes his final ruling.

       FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS, AND RECOMMENDATIONS CONTAINED

 IN THIS REPORT WITHIN FOURTEEN (14) CALENDAR DAYS FROM

 THE DATE OF ITS SERVICE SHALL BAR AN AGGRIEVED PARTY,

 EXCEPT UPON GROUNDS OF PLAIN ERROR, FROM ATTACKING ON

 APPEAL THE FACTUAL FINDINGS AND LEGAL CONCLUSIONS

 ACCEPTED BY THE DISTRICT JUDGE TO WHICH THE PARTY DID

 NOT OBJECT.

       THUS DONE in Chambers on this 22nd day of February, 2021.




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